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                             EXHIBIT A
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   1   RONALD P. ACKERMAN ( SBN 159692)
              ron@publicemployees. legal
   2
       OSHEA ORCHID ( SBN 298375)
         oshea@publicemployees.       legal
   3
       PUBLIC EMPLOYEES            LEGAL, LLP

   4   3415 S. Sepulveda Blvd., Suite 660
       Los Angeles, California 90034
   5   T: ( 310) 649- 5300


   6
       RAHUL SETHI ( SBN 238405)
         rahulsethi@sethiworks.      com
   7
       SETHI LAW FIRM
   8   5015 Eagle Rock Blvd., Suite 202
       Los Angeles,    CA 90041
   9   T: ( 213) 254- 2454

  10   Attorneys for Plaintiff, TONY SPEED


  11
                                      SUPERIOR COURT OF CALIFORNIA
  12
                                              COUNTY OF RIVERSIDE
  13


  14   TONY      SPEED,                                       Case No.:

  15
                Plaintiff,                                    COMPLAINT
                                                              1.   HOSTILE WORK ENVIRONMENT
  16
        vs.                                                   2.   HARASSMENT

  17                                                          3.   DISCRIMINATION
       CITY OF MORENO           VALLEY, and DOES 1            4.   RETALIATION
  18   through 10, Inclusive;                                 5.   FAILURE TO PROVIDE
                                                                   REASONABLE       ACCOMMODATION
  19
                Defendants.                                   6.   FAILURE TO ENGAGE IN GOOD
                                                                   FAITH INTERACTIVE         PROCESS
  20
                                                              7.   FAILURE TO PREVENT
  21                                                               DISCRIMINATION       AND

                                                                   RETALIATION
  22                                                          8.   DECLRATORY       RELIEF


  23
                                                              DEMAND FOR JURY TRIAL

  24

                 COMES NOW Plaintiff TONY SPEED and alleges as follows:
  25

                                               PRELIMINARY         FACTS
  26

                 1.       This Court is the proper court, and this action is properly filed in Riverside
  27


  28    County, because Defendants' obligations and liability arise therein, and because Defendants
                                                             1-

                                                      COMPLAINT
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   1   maintain their principal offices and transact business within Riverside County, and because the
   2   work that is the subject of this action was performed by Plaintiff in Riverside County.
   3           2.      Plaintiff TONY SPEED ( hereinafter referred to         as "   Plaintiff'          or"   Speed"),   at all


   4   times relevant to this action, resided in the State of California, County of Riverside.
   5           3.      Plaintiff is informed and believes and thereon alleges that, at all times relevant


   6   hereto, Defendant   CITY OF MORENO VALLEY ( hereinafter referred to                         as    the " CITY")     was      a



   7   municipal entity organized and existing under the laws of the State of California.
   8           4.      At all times herein, the CITY was Plaintiff' s employer within the meaning of the
   9   Government Code §§ 12926,       subdivision(   d), 12940,   subdivisions (    a),(   h),( 1), (    h)( 3)( A), and( i),

  10   and 12950, and regularly employs five (5) or more persons and is therefore subject to the
  11   jurisdiction of this Court.
  12           5.      The true names and capacities, whether individual, corporate, associate, or

  13   otherwise, of the Defendants named herein as DOES 1- 100, inclusive, are unknown to Plaintiff at

  14   this time and therefore said Defendants are sued by such fictitious names. Plaintiff will seek leave
  15   to amend this Complaint to insert the true names and capacities of said Defendants when the same

  16   become known to Plaintiff. Plaintiff is informed and believes, and based thereupon alleges, that


  17   each of the fictitiously-named Defendants is responsible for the wrongful acts alleged herein, and
  18   is therefore liable to Plaintiff as alleged hereinafter.


  19           6.      Plaintiff is informed and believes, and based thereupon alleges, that at all times


  20   relevant hereto, Defendants, and each of them, were the agents, employees, managing agents,
  21   supervisors, coconspirators, parent corporation, joint employers, alter ego, and/or joint ventures
  22   of the other Defendants, and each of them, and in doing the things alleged herein, were acting at
  23   least in part within the course and scope of said agency, employment, conspiracy, joint employer,
  24   alter ego status, and/ or joint venture and with the permission and consent of each of the other
  25   Defendants.


  26           7.      Plaintiff is informed and believes, and based thereupon alleges, that Defendants,


  27   and each of them, including those Defendants named as DOES 1- 100, acted in concert with one
  28   another to commit the wrongful acts alleged herein, and aided, abetted, incited, compelled, and/ or
                                                             2-

                                                      COMPLAINT
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   1   coerced one another in the wrongful acts alleged herein, and/ or attempted to do so.               Plaintiff is

   2   further informed and believes, and based thereupon alleges, that the Defendants,                and each of


   3   them, including those Defendants named as DOES 1- 100, formed and executed a conspiracy or
   4   common plan pursuant to which they would commit the unlawful acts alleged herein, with all
   5   such acts alleged herein done as part of and pursuant to said conspiracy, intended to cause and
   6   actually causing Plaintiff harm.
   7            8.       Whenever and wherever reference is made in this Complaint to any act or failure
   8   to act by a Defendant or co-Defendant, such allegations and references shall also be deemed to
   9   mean the acts and/ or failures to act by each Defendant acting individually, jointly and severally.
  10            9.       Plaintiff has exhausted his administrative remedies by timely filing a complaint
  11   with the Department of Fair Employment and Housing and receiving a right-to- sue on October 6,
  12   2020.


  13                                             FACTUAL ALLEGATIONS

  14            10.      Speed was hired as a Traffic Signal Technician for the CITY on January 5, 2015.
  15            11.      Plaintiff is an African American male who has a disability.
  16            12.      On June 6, 2017, while installing pedestrian crossing beacons with his fellow
  17   employees,     Speed overheard Transportation              Senior Signal Technician Ron Matthews make a


  18   remark   about"   roots &   Kunta Kente."         Speed asked Matthews what he had said. Matthews replied


  19   he needed the     jack hammer     to   get rid of roots, and    then   repeated the phrase, " Roots, Kunta


  20   Kente." The statement made Speed uncomfortable.

  21            13.      That same day, Speed was returning to the job site when he overheard Matthews
  22   say, " Look how many of       them     there [   are];
                                                                there' s so many Mexicans. They' re everywhere; they

  23   call this place ` Morenexico'."        Transportation       Supervisor Scott Duncan and Traffic Signal

  24   Technician Terry Klaumanzer were present at the time, but none of these men saw that Speed
  25   could overhear the comments.


  26            14.      On June 20, 2017, Speed received an incident report for damaging the front
  27   passenger bin on a new City truck. While filling out the incident report, Duncan told Speed he
  28
                                                                      3-

                                                                COMPLAINT
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   1   was going to write him up for not paying attention on the job, despite not being at the location
   2   when the incident took place. Duncan also told Speed he had" his head up his ass."
   3             15.   On June 29, 2017, Duncan used the term" yessum" with a southern accent when
   4   talking to Speed. This was not the first instance in which Duncan had spoken to Speed in this
   5   manner.



   6             16.   On August 1, 2017, the signal crew was tasked with cleaning up loose concrete.
   7   Duncan instructed Klaumanzer to stop digging and for Speed to dig instead. Speed began digging
   8   while Duncan sat in front of him and watched. Duncan would not let any of the other employees
   9   assist Speed.


  10             17.   On August 5, 2017, Speed was working on fixing a traffic light and called
  11   Klaumanzer for help. Klaumanzer began talking through certain steps. Speed said he had already
  12   completed those steps, to which Klaumanzer responded angrily and said Speed had been acting
  13   differently lately.
  14             18.   On or around August 11, 2017, Matthews called Speed' s sister to tell her he had

  15   been in a motorcycle accident even though Speed was in no such accident. Speed reported the

  16   incident to Duncan, who never took any corrective action to prevent any harassment.
  17             19.   From August 15, 2017 -   August 23, 2017, Speed suffered harassment by Duncan
  18   based on his race. For example, Duncan falsely wrote Speed up for being a no- call and no- show
  19   to work on August 11, 2017. Human Resources later removed the write- up from Speed' s file but

  20   this harassment was never explained.

  21             20.   On August 17, 2017, Speed found a knife in his work mail box. Duncan,

  22   Matthews, and Sign and Striping Technician Brandon Miranda admitted to putting the knife in his
  23   work mail box. Speed was placed on administrative leave on August 23, 2017, while the City
  24   conducted an internal investigation.


  25             21.   From September 12, 2017 to September 15, 2017, Speed was placed on
  26   bereavement leave due to the death of a family member.
  27             22.   From November    16, 2017 through November 27, 2017, Speed took leave due to


  28   his disability. Human Resources Manager Kathleen Sanchez sent Speed several emails and calls
                                                         4-

                                                 COMPLAINT
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    1   directing him to report to work even though he was on leave during this time. Speed was also
    2   notified that he would not be paid on November 22, 2017 for the bereavement leave he had taken
    3   in September 2017. The City did not engage in the interactive process to provide Speed a
    4   reasonable accommodation for his disability.
    5             23.    On December 21, 2017, Speed was placed on unpaid leave by Kaiser
    6   Permanente' s Return to Work Program while on FMLA.


    7             24.    In or around December 2017, Speed filed a complaint with DFEH and the EEOC.


    8   In December 2018, the DFEH completed their investigation          and Speed was issued a Right to Sue

    9   letter.

   10             25.    On January 4, 2018, Speed was terminated by the CITY for being absent without
   11   leave on December     19, 2017 through December 25, 2017.

   12             26.    Due to errors in the investigative process, Speed appealed the DFEH' s decision in
   13   October, 2019. Another investigation was launched and concluded on October 6, 2020. Speed

   14   was issue a Right to Sue Letter, attached as Exhibit 1.


   15             27.    At no point has Defendant been willing to engage in a good-faith interactive
   16   process. Defendant has not permitted Plaintiff to return to work, effectively ending his career
   17   with the CITY.

   18             28.    Defendant'   refusal to allow Plaintiff to return to work is discrimination   because of

   19   his disabilities/perceived disabilities, and in retaliation for his protected activities.
  20              29.    As a result of Defendant' s actions, Plaintiff has suffered and will continue to suffer

  21    general and special damages, including severe and profound pain and emotional distress, anxiety,
  22    depression, as well as medical expenses, and past and future lost wages and benefits.
  23              30.    As a result of the above, Plaintiff is entitled to past and future lost wages, and
  24    benefits.


  25              31.    Plaintiff claims general damages for emotional and mental distress and
  26    aggravation in a sum in excess of the jurisdictional minimum of this Court.
  27


  28

                                                             5-


                                                     COMPLAINT
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    1                                         FIRST CAUSE OF ACTION
                                          HOSTILE WORK ENVIRONMENT
    2
                                                    Against All Defendants)

    3          32.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
    4
        preceding paragraphs as though fully set forth herein.
    5          33.     At all times hereto, the FEHA was in full force and effect and was binding upon
    6   Defendants and each of them.

    7          34.     As such           is used           FEHA, "
                                  term             under
                                                                     on the bases enumerated in this part" means or
    8
        refers to discrimination on the bases of one or more of the protected characteristics under FEHA.
    9          35.     Plaintiff was subject to harassing conduct because of his race and/ or color. The
   10
        harassing conduct was severe or pervasive. A reasonable person in Plaintiff' s circumstances
   11
        would have considered the work environment to be hostile, intimidating, offensive, oppressive or
   12
        abusive. Plaintiff considered the work environment to be hostile, intimidating, offensive,
   13
        oppressive or abusive.    Defendant knew or should have known of the conduct and failed to take

   14
        immediate and appropriate corrective action.

   15
               36.     Plaintiff was a member of a protected class as an African American individual
   16
        with disabilities who was also perceived as being disabled.
   17          37.     At all times relevant hereto, Plaintiff was performing competently in the position
   18   he held with Defendants.

   19          38.     Plaintiff is informed and believes that his race and disabilities/perceived
  20
        disabilities were a substantial motivating reason and/ or factor in the decisions to subject Plaintiff
  21    to the aforementioned    adverse employment actions.

  22
               39.     Said conduct violates the FEHA, and such violations were a proximate cause in
  23    Plaintiff' s damage as stated below.

  24           40.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein

  25
        incorporated by reference.
  26           41.     Pursuant    to Government Code § 12965( b), Plaintiff requests a reasonable award of

  27
        attorneys' fees and costs, including expert fees pursuant to the FEHA.
  28
                                                                6-

                                                           COMPLAINT
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    1                                       SECOND          CAUSE    OF ACTION
                                                       HARASSMENT
    2
                                                    Against All Defendants)

    3           42.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
    4
        preceding paragraphs as though fully set forth herein.
    5           43.     At all times hereto, the FEHA was in full force and effect and was binding upon
    6   Defendants and each of them.

    7           44.     As such          is used           FEHA, "
                                  term             under
                                                                     on the bases enumerated in this part" means or
    8
        refers to discrimination on the bases of one or more of the protected characteristics under FEHA.
    9           45.     Plaintiff is informed and believes, and thereon alleges that he was harassed in the

   10   terms and conditions of her employment         and/ or was subjected to a workplace environment

   11
        permeated with harassment, as outlined above, on the basis of race and disability/perceived
   12
        disability as set forth herein, in violation of the FEHA. Additionally, Plaintiff' s work environment
   13
        permeated with intimidation, hostility, and harassment towards numerous District employees and
   14
        students on the basis of race.

   15
                46.     The above conduct was so severe and/or pervasive it caused Plaintiff to perceive
   16
        his work environment as an intimidating, hostile, and/ or offensive work environment, which
   17
        interfered with Plaintiff' s ability to perform his job duties, and a reasonable person in Plaintiff' s
   18
        position would perceive the work environment as hostile.
   19           47.     Plaintiff was a member of a protected class as an African American individual
  20
        with disabilities who was also perceived as being disabled.
  21            48.     At all times relevant hereto, Plaintiff was performing competently in the position
  22
        he held with Defendants.

  23            49.     Plaintiff suffered the adverse employment actions of denial of accommodation,

  24
        refusal to engage in the interactive process, failure to prevent discrimination and retaliation,
  25
        forced leave of absence, and refusal to permit Plaintiff to work, and was harmed thereby.
  26


  27


  28
                                                                7-


                                                           COMPLAINT
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    1          50.     Plaintiff is informed and believes that his race and disabilities/perceived
    2   disabilities were a substantial motivating reason and/or factor in the decisions to subject Plaintiff
    3   to the aforementioned   adverse employment actions.

    4          51.     Said conduct violates the FEHA, and such violations were a proximate cause in
    5   Plaintiff' s damage as stated below.


    6          52.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein


    7   incorporated by reference.
    8          53.     Pursuant    to Government Code § 12965( b), Plaintiff requests a reasonable       award of


    9   attorneys' fees and costs, including expert fees pursuant to the FEHA.
   10
                                             THIRD CAUSE OF ACTION
                                                     DISCRIMINATION
   11
                                                    Against All Defendants)
   12
               54.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
   13
        preceding paragraphs as though fully set forth herein.
   14
               55.     At all times hereto, the FEHA was in full force and effect and was binding upon
   15
        Defendants and each of them.

   16
               56.     As such    term   is used   under   FEHA, "   on the bases enumerated in this part" means or
   17
        refers to discrimination on the bases of one or more of the protected characteristics under FEHA.
   18
               57.     FEHA requires Defendants to refrain from discriminating against an employee on
   19
        the basis of race and disabilities/perceived disabilities, and to prevent discrimination on the basis
  20
        of race and disabilities/perceived disabilities from occurring.
  21
               58.     Plaintiff was a member of a protected class as an African American individual
  22
        with disabilities who was also perceived as being disabled.
  23
               59.     At all times relevant hereto, Plaintiff was performing competently in the position
  24
        he held with Defendants.

  25
               60.     Plaintiff suffered the adverse employment actions of denial of accommodation,

  26
        refusal to engage in the interactive process, failure to prevent discrimination and retaliation,
  27
        forced leave of absence, and refusal to permit Plaintiff to work, and was harmed thereby.
  28
                                                                8-

                                                           COMPLAINT
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    1          61.     Plaintiff is informed and believes that his race and disabilities/perceived
    2   disabilities were a substantial motivating reason and/or factor in the decisions to subject Plaintiff
    3   to the aforementioned   adverse employment actions.

    4          62.     Said conduct violates the FEHA, and such violations were a proximate cause in
    5   Plaintiff' s damage as stated below.


    6          63.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein


    7   incorporated by reference.
    8          64.     Pursuant   to Government Code § 12965( b), Plaintiff requests a reasonable    award of


    9   attorneys' fees and costs, including expert fees pursuant to the FEHA.
   10
                                         FOURTH      CAUSE OF ACTION
                                                  RETALIATION
   11
                                               Against All Defendants)
   12
               65.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
   13
        preceding paragraphs as though fully set forth herein.
   14
               66.     At all times hereto, the FEHA was in full force and effect and was binding upon
   15
        Defendants and each of them.

   16
               67.     These laws set forth in the preceding paragraph require Defendants to refrain from
   17
        retaliating against an employee for engaging in protected activity.
   18
               68.     Plaintiff engaged in the protected activities of requesting accommodations, taking
   19
        medical leave, and complaining about and protesting Defendants' discriminatory conduct towards
   20
        Plaintiff based upon his race and disabilities/perceived disabilities.
   21
               69.     Plaintiff suffered the adverse employment actions of denial of accommodation,

   22
        refusal to engage in the interactive process, failure to prevent discrimination and retaliation,
   23
        forced leave of absence, and refusal to permit Plaintiff to work, and was harmed thereby.
   24
               70.     Plaintiff is informed and believes that his race and disabilities/perceived
   25
        disabilities were a substantial motivating reason and/ or factor in the decisions to subject Plaintiff
   26
        to the aforementioned   adverse employment actions.

   27


   28
                                                           9-

                                                   COMPLAINT
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    1              71.     Plaintiff is informed and believes that his engagement in the aforementioned

    2       protected activities were substantial motivating reasons and/or factors in the decisions to subject
    3       him to the aforementioned    adverse employment actions.

    4              72.     Defendants violated the FEHA by retaliating against Plaintiff for exercising or
    5       attempting to exercise his protected rights, as set forth hereinabove.
    6              73.     The above said acts of Defendants constitute violations of the FEHA, and were a

    7       proximate cause in Plaintiff' s damage as stated below.

    8              74.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein


    9       incorporated by reference.
   10              75.     Pursuant   to Government Code § 12965( b), Plaintiff requests a reasonable     award of

   11       attorneys' fees and costs, including expert fees pursuant to the FEHA.
   12

                                               FIFTH CAUSE OF ACTION
   13
                             FAILURE TO PROVIDE REASONABLE ACCOMODATION
                                                   Against All Defendants)
   14

                   76.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
   15


   16       preceding paragraphs as though fully set forth herein.
                   77.     At all times hereto, the FEHA, including in particular Government Code
   17


   18   §    12940(m), was in full force and effect and was binding upon Defendants. This subsection

   19       imposes a duty on Defendants to make reasonable accommodation for the known disability of an
            employee.
   20

                   78.     At all relevant times, Plaintiff was a member of a protected class within the
   21

   22       meaning of particular Government Code §§ 12940(     a) &
                                                                       12986( 1) et seq. because he had
            disabilities that affected his major life activities, of which Defendants had both actual and
   23

            constructive knowledge.
   24

                   79.     At all times herein, Plaintiff was willing and able to perform the duties and
   25


   26       functions of the position in which he was employed, or could have performed the duties and

   27       functions of that position with reasonable accommodations. At no time would the performance of

   28       the functions of the employment position, with a reasonable accommodation for Plaintiffs
                                                              10 -

                                                       COMPLAINT
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    1       disability or his disability as it was perceived by Defendants, have been a danger to Plaintiffs or
    2       any other person's health or safety. Accommodation of Plaintiffs disability or disability as it was
    3       perceived by Defendants would not have imposed an undue hardship on Defendants. Defendants
    4       failed and refused to accommodate Plaintiff and failed to engage in the interactive process with
    5       Plaintiff.


    6               80.        The above said acts of Defendants constitute violations of the FEHA, and were a


    7       proximate cause in Plaintiff' s damage as stated below.
    8               81.        The damage allegations of Paragraphs 29 through 31, inclusive, are herein


    9       incorporated by reference.
   10               82.        Pursuant   to Government Code § 12965( b), Plaintiff requests a reasonable     award of

   11       attorneys' fees and costs, including expert fees pursuant to the FEHA.
   12

                                                  THIRD CAUSE OF ACTION
   13
                            FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS
                                                       Against All Defendants)
   14

                    83.        Plaintiff re- alleges and incorporates by reference each and every allegation of the
   15


   16       preceding paragraphs as though fully set forth herein.
                    84.        At all times hereto, the FEHA, including in particular Government Code
   17

             12940(   n),
                            was in full force and effect and was binding upon Defendants. This subsection
   18   §


   19       imposes a duty on Defendants to engage in a timely, good faith, interactive process with the

   20       employee to determine effective reasonable accommodations, if any, in response to a request for

   21       reasonable accommodation by an employee with a known disability or known medical condition.
                    85.        At all relevant times, Plaintiff was a member of a protected class within the
   22


   23       meaning of particular Government Code §§ 12940(         a) &
                                                                           12986( 1) et seq. because he had
            disabilities that affected his major life activities, of which Defendants had both actual and
   24

            constructive knowledge.
   25

                    86.        Plaintiff reported his disabilities to Defendants, triggering Defendants' obligation
   26


   27       to engage in the interactive process with Plaintiff, but at all times herein, Defendants failed and
            refused to do so.
   28
                                                                  11 -

                                                           COMPLAINT
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    1              87.     The above said acts of Defendants constitute violations of the FEHA and were a

    2       proximate cause in Plaintiff' s damage as stated below.
    3              88.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein

    4       incorporated by reference.
    5              89.     Pursuant   to Government Code § 12965( b), Plaintiff requests a reasonable award of


    6       attorneys' fees and costs, including expert fees pursuant to the FEHA.
    7
                                            SEVENTH CAUSE OF ACTION
    8
                         FAILURE TO PREVENT DISCRIMINATION                     AND RETALIATION
                                                  Against All Defendants)
    9

                   90.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
   10

   11       preceding paragraphs as though fully set forth herein.
                   91.     At all times hereto, the FEHA, including in particular Government Code
   12


   13   §    12940(k), was in full force and effect and was binding upon Defendants. This subsection

   14       imposes a duty on Defendants to take all reasonable steps necessary to prevent discrimination and

   15       retaliation from occurring. As alleged above, Defendants violated this subsection and breached

   16       their duty by failing to take all reasonable steps necessary to prevent discrimination and

   17       retaliation from occurring.
                   92.     The above said acts of Defendants constitute violations of the FEHA and were a
   18


   19       proximate cause in Plaintiff' s damage as stated below.
                   93.     The damage allegations of Paragraphs 29 through 31, inclusive, are herein
   20

   21       incorporated by reference.
                   94.     Pursuant   to Government   Code § 12965( b), Plaintiff requests a reasonable award of
   22


   23       attorneys' fees and costs, including expert fees pursuant to the FEHA.

   24
                                             EIGHTH CAUSE OF ACTION
   25                                           DECLARATORY           RELIEF

                                                  Against All Defendants)
   26
                   95.     Plaintiff re- alleges and incorporates by reference each and every allegation of the
   27
            preceding paragraphs as though fully set forth herein.
   28

                                                              12 -

                                                       COMPLAINT
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    1              96.   Government          Code §   12920 sets forth the public policy of the State of California as
    2   follows:

                         It is hereby declared as the public policy of this state that it is
    3
                         necessary to protect and safeguard the right and opportunity of all
                         persons to seek, obtain, and hold employment without discrimination
    4                    or abridgment     on account of race, religious creed, color, national
                         origin,
                                    ancestry, physical disability, mental disability, medical
    5
                         condition, genetic information, marital status, sex, gender, gender
                         identity, gender expression, age, or sexual orientation.
    6

                         It is recognized that the practice of denying employment opportunity
    7
                         and discriminating in the terms of employment for these reasons
                         foments domestic strife and unrest, deprives the state of the fullest
    8                    utilization of its capacities for development and advancement, and
                         substantially and adversely affects the interests of employees,
    9
                         employers, and the public in general.
   10                    Further,      the               of discrimination   because   of   race,   color,
                                             practice
                         religion, sex, gender, gender identity, gender expression, sexual
   11
                         orientation, marital status, national origin, ancestry, familial status,
                         source  of income, disability, or genetic information in housing
   12
                         accommodations is declared to be against public policy.
   13
                         It is the purpose of this part to provide effective remedies that will
                         eliminate these discriminatory practices.
   14

                         This part shall be deemed an exercise of the police power of the state
   15
                         for the protection of the welfare, health, and peace of the people of
                         this state.
   16


   17              97.   Government          Code § 12920. 5 embodies the intent of the California legislature     and

   18   states:



   19
                         In order to eliminate discrimination, it is necessary to provide
   20
                         effective remedies that will both prevent and deter unlawful
                         employment practices and redress the adverse effects of those
   21
                         practices on aggrieved persons. To that end, this part shall be deemed
                         an exercise of the Legislature' s authority pursuant to Section 1 of
                         Article XIV of the California Constitution.
   22


   23              98.   Moreover,      Government       Code §   12921, subdivision( a) says in pertinent part:
   24


   25                    The opportunity to seek, obtain, and hold employment without
                         discrimination because of race, religious creed, color, national origin,

   26                    ancestry, physical disability, mental disability, medical condition,
                         genetic information, marital status, sex, gender, gender identity,
   27                    gender expression, age, or sexual orientation is hereby recognized as
                         and declared to be a civil right.

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                                                                    13 -

                                                            COMPLAINT
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    1              99.     An actual controversy has arisen and now exists between Plaintiff and Defendants
    2   concerning their respective rights and duties as it is believed that Defendants may allege that they
    3   did not discriminate or retaliate against Plaintiff; that Plaintiff was not subjected to adverse

    4   employment actions as a result of his disabilities/perceived disabilities, engagement in protected
    5   activities, and/ or some combination of these protected characteristics. Plaintiff contends that
    6   Defendants did discriminate and retaliate against him on the basis of his disabilities/perceived
    7   disabilities, engagement in protected activities, and/ or some combination of these protected
    8   characteristics;   and that he was discriminated   and retaliated against and subjected to adverse


    9   employment actions as a result of some combination of these protected characteristics. Plaintiff is
   10   informed and believes, and on that basis alleges, that Defendants shall dispute Plaintiffs

   11   contentions.



   12              100.    Pursuant to Code of Civil Procedure §     1060, Plaintiff seeks a judicial determination
   13   of his rights and duties, and a declaration that his disabilities/perceived disabilities, engagement in
   14   protected activity, and/ or some combination of these protected characteristics were substantial
   15   motivating factors in the decisions to subject him to the aforementioned adverse employment
   16   actions.



   17              101.    Pursuant   to Code of Civil Procedure §   1060, Plaintiff seeks a judicial determination
   18   of his rights and duties, and a declaration that Defendants failed to accommodate        Plaintiff' s


   19   disabilities/perceived disabilities.
   20              102.    Pursuant   to Code of Civil Procedure §   1060, Plaintiff seeks a judicial determination
   21   of his rights and duties, and a declaration that Defendants failed to engage in a good- faith
   22   interactive process with Plaintiff.
   23              103.    A judicial declaration is necessary and appropriate at this time under the
   24   circumstances      in order that Plaintiff, for himself and on behalf of employees in the State of

   25   California and in conformity with the public policy of the State, obtain a judicial declaration of
   26   the wrongdoing of Defendants and to condemn such discriminatory employment policies or
   27   practices prospectively. Harris v. City ofSanta Monica ( 2013) 56 Cal.4th 203.
   28
                                                              14 -

                                                       COMPLAINT
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    1                104.     A judicial declaration is necessary and appropriate at this time such that
    2   Defendants may also be aware of their obligations under the law to not engage in discriminatory
    3   practices and to not violate the law in the future.
    4                105.     Government     Code §        12965( b) provides that an aggrieved party, such as the
    5   Plaintiff herein, may be awarded                 reasonable
                                                                        attorney'     s   fees and   costs: "   In civil actions brought


    6   under this section, the court, in its discretion, may award to the prevailing party, including the
    7   department,         reasonable
                                         attorney'   s   fees and     costs,
                                                                               including      expert    witness    fees."   Such fees and

    8   costs expended by an aggrieved party may be awarded for the purpose of redressing, preventing,
    9   or deterring discrimination and harassment.
   10


   11                                                      PRAYER          FOR RELIEF


   12   WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
   13           1.            For compensatory damages and interest, in an amount to be proven at trial.
   14          2.             For statutory attorneys' fees and costs.
   15           3.            For declaratory relief.
   16          4.             For injunctive relief.


   17           5.            Any other relief or damages allowed by law, or statutes not set out above and such
   18   further relief as the Court deems just and proper at conclusion of trial.
   19


   20                                                DEMAND FOR JURY TRIAL

   21
                 Plaintiff TONY SPEED hereby demands trial by jury.
   22

        Dated: October 6, 2021                                          PUBLIC EMPLOYES LEGAL, LLP
   23                                                                   SETHI LAW FIRM

   24


   25


   26
                                                                        ByVSL.    S
                                                                           onald P. Ackerman
                                                                                      Oshea Orchid
   27                                                                                 Rahul Sethi

   28                                                                   Attorneys for Plaintiff, TONY SPEED
                                                                               15 -

                                                                 COMPLAINT
